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     Attorneys for Plaintiff
 9   MICHAEL MIGLOZZI
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11
                         UNITED STATES DISTRICT COURT
12                      CENTRAL DISTRICT OF CALIFORNIA
13
     MICHAEL MIGLOZZI,                         ) Case No. 2:15-cv-04000-FMO-JEM
14                                             )
15   Plaintiff,                                )
                                               ) NOTICE OF SETTLEMENT OF
16                                               ENTIRE ACTION
            vs.                                )
17                                             )
18   CAPITAL ONE BANK, N.A.; and               )
     DOES 1-10, inclusive,                     )
19                                             )
20   Defendants.                               )
                                               )
21
                                               )
22                                             )
23
24          NOW COMES Plaintiff, MICHAEL MIGLOZZI, by and through the
25   undersigned counsel, and hereby notifies this Honorable Court that the parties
26   have reached an agreement to settle the instant matter in its entirety. The parties,
27   through counsel, are working cooperatively to consummate the settlement as
28



                                    NOTICE OF SETTLEMENT
                                              -1-
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 1   expeditiously as possible and Plaintiff anticipates filing a Fed. R. Civ. P. 41
 2   voluntary dismissal, with prejudice, within sixty (60) days.
 3
 4
 5
 6         Date: August 26, 2015             MARTIN & BONTRAGER, APC
 7
                                             /s/ Nicholas J. Bontrager
 8
                                             G. Thomas Martin, III, Esq.
 9                                           Nicholas J. Bontrager, Esq.
10                                           Attorney for Plaintiff
11                                           MICHAEL MIGLOZZI
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                                    NOTICE OF SETTLEMENT
                                              -2-
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 1
 2                                PROOF OF SERVICE
 3
     I filed electronically on this 26th day of August, 2015, NOTICE OF
 4   SETTLEMENT, with:
 5
     United States District Court CM/ECF system
 6   Notification sent electronically on this 12th day of August, 2015, to:
 7
 8
     Connie Y Tcheng ctcheng@dollamir.com
 9   Hunter R Eley heley@dollamir.com
10
11   This 26th day of August, 2015
12
13   s/Nicholas J. Bontrager
14   Nicholas J. Bontrager
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                                   NOTICE OF SETTLEMENT
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